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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
AMERICAN FOREIGN SERVICE            )
ASSOCIATION, et al.,                )
                                    )
                  Plaintiffs,       )         Civil Action No. 1:25-CV-352
                                    )
            v.                      )
                                    )
DONALD TRUMP, et al.,               )
                                    )
                  Defendants.       )
___________________________________ )


                       DECLARATION OF OLIVIA DOE

      I, Olivia Doe declare the following under penalties of perjury:

      1.    I am over 18 years of age and competent to give this declaration. This

      declaration is based on my personal knowledge, information, and belief.

      2.     I am a member of the American Foreign Service Association.

      3.    I am a USAID Foreign Service Officer posted to Kinshasa, Democratic

      Republic of Congo, where I have served since 2023. My portfolio focuses on

      establishing conflict-free supply chains of critical minerals from the DRC to

      the U.S. The overarching objective of my role is to strengthen the supply chain

      of DRC’s vast critical minerals sector to the U.S. Much of my job is establishing

      relationships with Government of DRC officials and informing them of the

      benefits partnerships with the U.S. offer. Over 70% of the world’s cobalt is

      produced in the DRC, which is almost entirely shipped to China. My job was to

      help reduce the country’s dependence through increased trade with the U.S.
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As part of this, I was a lead coordinator for the U.S.’s support to developing the

Lobito Corridor railway, which, if fully developed, will substantially decrease

the time to ship minerals from DRC to the U.S. It is a project that has already

received $500M in support from the U.S. DFC.

4.    On Tuesday, January 28th, 2025, my husband and I were on our way to

work like any other day. Halfway through the ride to the office, we received a

notification that roads were blocked, violent protests were starting, and it was

no longer safe to be on the streets. We returned home by 7:15am and learned

it was not safe for our kids to be at school either because Westerners and cars

with diplomatic plates were being targeted (i.e. throwing rocks, shouting,

violence). Our two toddlers stayed home from preschool. From then on, the

protestors grew and thousands of protestors and looters were swarming the

city, setting fire to Embassies, burning tires, and attacking anyone who

appeared to be Western. Around midday, our USAID Mission Director found

himself and his wife trapped in their residence as tens of looters breached their

residence. After the Congolese police were unwilling to intervene, him and his

wife were only safely evacuated due to the quick work of the Embassy’s Quick

Reaction Force (QRF). However, the number of looters grew and they stole

literally everything out of their house — leaving them with literally nothing.

All of the memories of their children — gone. All of their valuables — gone. To

make matters worse, the looting was posted live on social media. He lost

everything — all because he chose to serve his country in one of the most




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difficult environments to live in. After this, it was deemed unsafe for any

Embassy personnel to be in Kinshasa.

5.    At 2am, Wednesday, January 29th, we were picked up to be emergency

evacuated by speedboat to Brazzaville. We were only allowed to travel with a

what could fit on our laps, we were forced to fit all of our most valuable

possessions and important documents in backpacks. This was a particularly

traumatizing experience for our two kids under 5 who witnessed the violence

on the streets only to then be abruptly forced to leave the only home they know.

They were pulled away from their school, their friends and their beloved

nanny, who is like part of our family, without even being able to say goodbye.

6.    Three days later, we finally arrived back to winter in DC with no warm

clothes, a place to stay, or a school for the kids to go to. We arrived to the news

that DOGE and the Trump Administration were calling us “criminals” —

something particularly hard to stomach after the ordeal we had just survived.

7.    The USAID shutdown has affected me in the following ways: (1) on a

personal level, I do not know when my paychecks will stop. As is typical in the

foreign service, the FSO works and the spouse finds employment at the

Embassy. With my employment on the line, so is my husband’s. Should the

Administration choose to not follow USAID’s Reduction in Force policy, we will

be left with no income and no healthcare. Likewise, given the uncertainty, we

do not know where to enroll our kids in school. Should we enroll them in the

DC area on the chance we are able to go back to work? Or will I be fired and




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will I need to move close to home to be close to family support? Many deadlines

for 2025-2026 school registrations have already passed. (2) On a professional

level, the shutdown is ruining the U.S.’s strong relationship with the DRC

government and private sector partners in the mining sector. USAID had many

partnerships and programs active in the DRC’s mining sector focused on

improving the environmental and social aspects of mining so that minerals

could be legally exported to the U.S. Likewise, USAID was the primary donor

supporting the development of the Lobito Corridor in the DRC. We have

essentially “ghosted” all of our partners and our reputation may forever be

tarnished as a result. Over the past few years, the DRC had expressed their

preference for U.S. partnerships and USAID worked hard to develop strong,

mutually beneficial partnerships that increase trade, benefitting the DRC

economy and U.S. consumers who rely on the critical minerals that only the

DRC produces. This is in jeopardy. China is ready to immediately jump in and

take over. The State Department is not equipped with the requisite

competencies to manage the type of technical assistance that USAID does.

State Department FSOs are focused on reporting; they do not know how to

manage multi-million grants.

8.    If put on admin leave, we are at risk of losing the special evacuation

allowance we receive to help offset lodging and per diem expenses. This is

something that evacuees from the State Department, USAID, and CDC are all

entitled to. However, USAID staff may lose access due to the whims of DOGE




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and the Trump Administration, while colleagues from other agencies in the

exact same situation will continue to receive uninterrupted benefits. This is

particularly troubling given we evacuated from Kinshasa with only backpacks

in 90 degree weather and arrived in DC in 30 degree weather. I have had to

buy winter wardrobes for myself, spouse and two children. The kids will need

school supplies, backpacks, medicine, and some toys to feel at home. We

arrived with almost nothing and have been told we will not see our personal

belongings for a very long time due to the continued unrest in the DRC. It is

completely unfair and inhumane to cut USAID evacuees off from the special

evacuation allowance after many of us served for years in what is one of the

poorest countries in the world.



I declare under penalty of perjury that the foregoing is true and correct.

Executed on February 9, 2025.



                                        /s/ Olivia Doe
                                        Olivia Doe




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